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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION


HEATHER RACHELLE KELLER,                          §
                                                  §
                   Plaintiff,                     §                SA-20-CV-01171-OLG
                                                  §
vs.                                               §
                                                  §
COMMISSIONER OF SOCIAL                            §
SECURITY,                                         §
                                                  §
                   Defendant.                     §

                                             ORDER

       Before the court in the above-styled cause of action is Plaintiff’s motion to proceed in

forma pauperis [#1]. This case was automatically referred to the undersigned upon filing, and

the undersigned has authority to enter this order pursuant to 28 U.S.C. § 636(b)(1)(A). Plaintiff

seeks leave to proceed in forma pauperis (“IFP”) based on an inability to afford court fees and

costs. Having considered Plaintiff’s application and supporting affidavit, the Court is of the

opinion the motion should be granted.

       All parties instituting any civil action, suit, or proceeding in a district court of the United

States, except an application for a writ of habeas corpus, must pay a filing fee of $350, as well as

an administrative fee.1 See 28 U.S.C. § 1914(a). Plaintiff’s motion to proceed IFP includes

income and asset information, which indicates that Plaintiff is unemployed and lives in Section 8

housing with her minor son. Plaintiff indicates the she receives $100 in child support each

month, as well as unidentified income in the amount of $354 per month. This information




       1
        The administrative fee, which is currently $50, is waived for plaintiffs who are granted
IFP status. See District Court Miscellaneous Fee Schedule, available at
http://www.uscourts.gov/services-forms/fees/district-court-miscellaneous-fee-schedule.
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demonstrates that Plaintiff does not have sufficient monthly resources available to pay the filing

fee, and the Court will grant the motion to proceed IFP.

       IT IS THEREFORE ORDERED that Plaintiff’s application to proceed in forma

pauperis [#1] is GRANTED.

       IT IS FURTHER ORDERED that Plaintiff’s Complaint [#1-1] shall be filed by the

Clerk without prepayment of fees, costs or the giving of security, and the Clerk shall, until

further Order of this Court, waive the collection of any other fees or costs from Plaintiff.

       IT IS FURTHER ORDERED that the Clerk issue the summonses attached to Plaintiff’s

motion [#1-4, #1-5, #1-6] for service by Plaintiff’s attorney.

       IT IS SO ORDERED.

       SIGNED this 5th day of October, 2020.




                                      ELIZABETH S. ("BETSY") CHESTNEY
                                      UNITED STATES MAGISTRATE JUDGE




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